Case 1:15-cv-07433-LAP Document 1328-27 Filed 01/05/24 Page 1 of 3




      EXHIBIT 8
  (Filed Under Seal)
              Case 1:15-cv-07433-LAP Document 1328-27 Filed 01/05/24 Page 2 of 3




________________________________
From: Ross Gow Jane Doe 2
Sent: 10 November 2015 18:16
To: Gmax; Philip Barden
Subject: Fwd: Inquiry from The New York Times

Hi Ghislaine and Philip
Please advise how you wish to respond...
Best
Ross

---------- Forwarded message ----------
From: Meier, Barry Jane Doe 2
Date: Tuesday, 10 November 2015
Subject: Inquiry from The New York Times
To: Jane Doe 2



Mr. Gow,
Good day. I am a reporter for the Times and it is my understanding that you represent Ghislaine Maxwell.
I am working on an article about the legal fallout from the Jeffrey Epstein case.
I anticipate mentioning the lawsuit filed earlier this year by Virginia Roberts Guiffee against Ms. Maxwell.
How does she respond?
Kindly advise by close of business Thursday, November 12, 2015.
And call me if you have any questions.
Regards,
Barry Meier

--
The New York Times
620 Eighth Avenue
New York, NY 10018
212-556-1917
Jane Doe 2

                                                        1
                                                                        CONFIDENTIAL GM_01141
                      Case 1:15-cv-07433-LAP Document 1328-27 Filed 01/05/24 Page 3 of 3



--
Ross Gow
Managing Partner


Jane Doe 2
Jane Doe 2


Jane Doe 2                                                    

www.acuityreputation.com<http://www.acuityreputation.com/>

The information contained in this e-mail and any attachments is confidential and may be privileged or otherwise
protected from disclosure. It is intended solely for the attention and use of the named addressee(s). If you are
not the intended recipient, dissemination, copying or use of this e-mail and any attachments in whole or in part
is prohibited. If you have received the e-mail in error, please notify the sender and delete the e-mail and any
attachments from your computer system. Whilst any attachments may have been checked for viruses, you
should rely on your own virus checker and procedures. No responsibility is accepted by ACUITY Reputation
Limited for loss or damage arising from the receipt or use of this e-mail.

This email is intended for the addressee named within only. It may contain legally privileged or confidential information. If you are not the named individual you should not read
this email and if you do so, you must not under any circumstances make use of the information therein. If you have read this email and it is not addressed to you, please notify
IT@devonshires.co.uk and confirm that it has been deleted from your system and no copies made.

Devonshires Solicitors is the trading name of Devonshires Solicitors LLP, registered in England and Wales with company number OC397401 at the address below. This Firm
is authorised and regulated by the Solicitors Regulation Authority under the name of Devonshires Solicitors LLP and registration number 619881. This Firm does not accept
service by electronic mail or facsimile. A list of members is open to inspection at the address below.

Devonshires Solicitors, 30 Finsbury Circus, London EC2M 7DT tel +44 (0)20 7628 7576 fax +44 (0)20 7256 7318

Where instructions have been given by Devonshires Solicitors to a barrister to work on a client’s matter, we notify you, on behalf of that barrister, that you have the right to
make a complaint about the service provided by that barrister or about the conduct of their Chambers. A copy of the barrister and / or their Chambers’ complaints procedure
may be obtained by contacting the Senior Clerk of that Chambers, whose contact details can be found online, or from us. Complaints may be made direct to the barrister /
their Chambers. Please note that there may be a time limit for bringing your complaint. You may also have the right to ask the Legal Ombudsman to consider your complaint
at the end of the complaints process. Information on complaints to the Legal Ombudsman, including the details of strict time limits to bring a complaint, may be found at
http://www.legalombudsman.org.uk.

The Devonshires Foundation is proud to support Action for Kids (reg. charity 1068841), Wide horizons (reg. charity 1105847), and Theatre Royal Stratford East (reg. charity
233801) during 2014/2015.

Please consider the environment before printing this email.




                                                                                        2
                                                                                                                  CONFIDENTIAL GM_01142
